                    Case 1:16-cv-00056-ER Document 1-5 Filed 01/29/16 Page 1 of 1 PageID #: 57
-6    5HY                                                      CIVIL COVER SHEET
7KH -6  FLYLO FRYHU VKHHW DQG WKH LQIRUPDWLRQ FRQWDLQHG KHUHLQ QHLWKHU UHSODFH QRU VXSSOHPHQW WKH ILOLQJ DQG VHUYLFH RI SOHDGLQJV RU RWKHU SDSHUV DV UHTXLUHG E\ ODZ H[FHSW DV
SURYLGHG E\ ORFDO UXOHV RI FRXUW 7KLV IRUP DSSURYHG E\ WKH -XGLFLDO &RQIHUHQFH RI WKH 8QLWHG 6WDWHV LQ 6HSWHPEHU  LV UHTXLUHG IRU WKH XVH RI WKH &OHUN RI &RXUW IRU WKH
SXUSRVH RI LQLWLDWLQJ WKH FLYLO GRFNHW VKHHW (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                       DEFENDANTS
Smith International, Inc.                                                                             Baker Hughes Incorporated


   (b) &RXQW\ RI 5HVLGHQFH RI )LUVW /LVWHG 3ODLQWLII        New Castle/Harris                           &RXQW\ RI 5HVLGHQFH RI )LUVW /LVWHG 'HIHQGDQW
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        127(      ,1 /$1' &21'(01$7,21 &$6(6 86( 7+( /2&$7,21 2)
                                                                                                                   7+( 75$&7 2) /$1' ,192/9('

   (c) $WWRUQH\V (Firm Name, Address, and Telephone Number)                                              $WWRUQH\V (If Known)
John C. Phillips, Jr. -- PHILLIPS, GOLDMAN & SPENCE, P.A.
1200 North Broom Street, Wilmington, DE 19806-4204
(302) 655-4200

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                          and One Box for Defendant)
u      8 6 *RYHUQPHQW           u     )HGHUDO 4XHVWLRQ                                                                     PTF          DEF                                          PTF      DEF
          3ODLQWLII                       (U.S. Government Not a Party)                        &LWL]HQ RI 7KLV 6WDWH         u           u       ,QFRUSRUDWHG or 3ULQFLSDO 3ODFH      u       u 
                                                                                                                                                     RI %XVLQHVV ,Q 7KLV 6WDWH

u      8 6 *RYHUQPHQW           u     'LYHUVLW\                                              &LWL]HQ RI $QRWKHU 6WDWH          u       u       ,QFRUSRUDWHG and 3ULQFLSDO 3ODFH    u      u 
          'HIHQGDQW                       (Indicate Citizenship of Parties in Item III)                                                               RI %XVLQHVV ,Q $QRWKHU 6WDWH

                                                                                               &LWL]HQ RU 6XEMHFW RI D           u       u       )RUHLJQ 1DWLRQ                      u      u 
                                                                                                 )RUHLJQ &RXQWU\
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                       TORTS                                  FORFEITURE/PENALTY                           BANKRUPTCY                    OTHER STATUTES
u  ,QVXUDQFH                    PERSONAL INJURY              PERSONAL INJURY                u  'UXJ 5HODWHG 6HL]XUH             u  $SSHDO  86&           u  )DOVH &ODLPV $FW
u  0DULQH                     u  $LUSODQH              u  3HUVRQDO ,QMXU\                  RI 3URSHUW\  86&            u  :LWKGUDZDO                 u  6WDWH 5HDSSRUWLRQPHQW
u  0LOOHU $FW                 u  $LUSODQH 3URGXFW            3URGXFW /LDELOLW\           u  2WKHU                                   86&                  u  $QWLWUXVW
u  1HJRWLDEOH ,QVWUXPHQW             /LDELOLW\            u  +HDOWK &DUH                                                                                        u  %DQNV DQG %DQNLQJ
u  5HFRYHU\ RI 2YHUSD\PHQW u  $VVDXOW /LEHO                 3KDUPDFHXWLFDO                                                       PROPERTY RIGHTS                u  &RPPHUFH
         (QIRUFHPHQW RI -XGJPHQW        6ODQGHU                    3HUVRQDO ,QMXU\                                                    u  &RS\ULJKWV                 u  'HSRUWDWLRQ
u  0HGLFDUH $FW               u  )HGHUDO (PSOR\HUV¶          3URGXFW /LDELOLW\                                                  u  3DWHQW                     u  5DFNHWHHU ,QIOXHQFHG DQG
u  5HFRYHU\ RI 'HIDXOWHG             /LDELOLW\            u  $VEHVWRV 3HUVRQDO                                                  u  7UDGHPDUN                        &RUUXSW 2UJDQL]DWLRQV
      6WXGHQW /RDQV              u  0DULQH                      ,QMXU\ 3URGXFW                                                                                      u  &RQVXPHU &UHGLW
       ([FOXGHV 9HWHUDQV         u  0DULQH 3URGXFW              /LDELOLW\                               LABOR                        SOCIAL SECURITY                u  &DEOH6DW 79
u  5HFRYHU\ RI 2YHUSD\PHQW           /LDELOLW\             PERSONAL PROPERTY                u  )DLU /DERU 6WDQGDUGV             u  +,$ II                 u  6HFXULWLHV&RPPRGLWLHV
      RI 9HWHUDQ¶V %HQHILWV      u  0RWRU 9HKLFOH         u  2WKHU )UDXG                        $FW                             u  %ODFN /XQJ                    ([FKDQJH
u  6WRFNKROGHUV¶ 6XLWV        u  0RWRU 9HKLFOH         u  7UXWK LQ /HQGLQJ            u  /DERU0DQDJHPHQW                 u  ',:&',::  J            u  2WKHU 6WDWXWRU\ $FWLRQV
u  2WKHU &RQWUDFW                   3URGXFW /LDELOLW\     u  2WKHU 3HUVRQDO                     5HODWLRQV                       u  66,' 7LWOH ;9,             u  $JULFXOWXUDO $FWV
u  &RQWUDFW 3URGXFW /LDELOLW\ u  2WKHU 3HUVRQDO              3URSHUW\ 'DPDJH             u  5DLOZD\ /DERU $FW                u  56,  J                  u  (QYLURQPHQWDO 0DWWHUV
u  )UDQFKLVH                        ,QMXU\                u  3URSHUW\ 'DPDJH             u  )DPLO\ DQG 0HGLFDO                                                u  )UHHGRP RI ,QIRUPDWLRQ
                                 u  3HUVRQDO ,QMXU\            3URGXFW /LDELOLW\                  /HDYH $FW                                                              $FW
                                       0HGLFDO 0DOSUDFWLFH                                     u  2WKHU /DERU /LWLJDWLRQ                                            u  $UELWUDWLRQ
      REAL PROPERTY                  CIVIL RIGHTS             PRISONER PETITIONS               u  (PSOR\HH 5HWLUHPHQW                FEDERAL TAX SUITS              u  $GPLQLVWUDWLYH 3URFHGXUH
u  /DQG &RQGHPQDWLRQ          u  2WKHU &LYLO 5LJKWV      Habeas Corpus:                        ,QFRPH 6HFXULW\ $FW              u  7D[HV 8 6 3ODLQWLII              $FW5HYLHZ RU $SSHDO RI
u  )RUHFORVXUH                u  9RWLQJ                u  $OLHQ 'HWDLQHH                                                            RU 'HIHQGDQW                    $JHQF\ 'HFLVLRQ
u  5HQW /HDVH (MHFWPHQW       u  (PSOR\PHQW            u  0RWLRQV WR 9DFDWH                                                  u  ,56²7KLUG 3DUW\            u  &RQVWLWXWLRQDOLW\ RI
u  7RUWV WR /DQG              u  +RXVLQJ                    6HQWHQFH                                                                   86&                      6WDWH 6WDWXWHV
u  7RUW 3URGXFW /LDELOLW\           $FFRPPRGDWLRQV        u  *HQHUDO
u  $OO 2WKHU 5HDO 3URSHUW\    u  $PHU Z'LVDELOLWLHV  u  'HDWK 3HQDOW\                     IMMIGRATION
                                       (PSOR\PHQW              Other:                          u  1DWXUDOL]DWLRQ $SSOLFDWLRQ
                                 u  $PHU Z'LVDELOLWLHV  u  0DQGDPXV 2WKHU              u  2WKHU ,PPLJUDWLRQ
                                       2WKHU                 u  &LYLO 5LJKWV                      $FWLRQV
                                 u  (GXFDWLRQ             u  3ULVRQ &RQGLWLRQ
                                                             u  &LYLO 'HWDLQHH 
                                                                   &RQGLWLRQV RI
                                                                   &RQILQHPHQW
V. ORIGIN (Place an “X” in One Box Only)
u  2ULJLQDO             u  5HPRYHG IURP           u        5HPDQGHG IURP               u  5HLQVWDWHG RU       u  7UDQVIHUUHG IURP             u  0XOWLGLVWULFW
    3URFHHGLQJ               6WDWH &RXUW                      $SSHOODWH &RXUW                 5HRSHQHG                $QRWKHU 'LVWULFW                 /LWLJDWLRQ
                                                                                                                          (specify)
                                    &LWH WKH 86 &LYLO 6WDWXWH XQGHU ZKLFK \RX DUH ILOLQJ (Do not cite jurisdictional statutes unless diversity)
                                     35 U.S.C. §§ 1, et seq.
VI. CAUSE OF ACTION %ULHI GHVFULSWLRQ RI FDXVH
                                     Patent Infringement
VII. REQUESTED IN     u &+(&. ,) 7+,6 ,6 $ CLASS ACTION                                           DEMAND $                                     &+(&. <(6 RQO\ LI GHPDQGHG LQ FRPSODLQW
     COMPLAINT:          81'(5 58/(  )5&Y3                                                                                              JURY DEMAND:         u <HV     u 1R
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               -8'*(                                                                                        '2&.(7 180%(5
'$7(                                                               6,*1$785( 2) $77251(< 2) 5(&25'
01/29/2016                                                       /s/ John C. Phillips, Jr.
FOR OFFICE USE ONLY

  5(&(,37                   $02817                                    $33/<,1* ,)3                                      -8'*(                            0$* -8'*(
